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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


PANELTOUCH TECHNOLOGIES LLC,

                         Plaintiff,                     Case No. 2:25-cv-00245

                  v.                                    JURY TRIAL DEMANDED

BOE TECHNOLOGY GROUP CO., LTD.,

                         Defendant.



                   COMPLAINT FOR PATENT INFRINGEMENT AGAINST
                        BOE TECHNOLOGY GROUP CO., LTD.

       This is an action for patent infringement arising under the Patent Laws of the United States

of America, 35 U.S.C. § 1 et seq., in which Plaintiff Paneltouch Technologies LLC (“Plaintiff”)

makes the following allegations against BOE Technology Group Co., Ltd. (“BOE” or

“Defendant”):

                                          INTRODUCTION

       1.         This complaint arises from Defendant’s unlawful infringement of the following

United States patents owned by Plaintiff: United States Patents No. 8,704,762 (the “’762 Patent”),

8,803,836 (the “’836 Patent”), 9,250,758 (the “’758 Patent”), 9,507,477 (the “’477 Patent”), and

11,126,025 (the “’025 Patent”) (collectively, the “Asserted Patents”).

                                           THE PARTIES

       2.         Plaintiff is a limited liability company organized and existing under the laws of the

state of Texas.




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       3.      Upon information and belief, BOE is a corporation organized and existing under

the laws of China with a registered address at 10 Jiuxianqiao Road, Chaoyang District, Beijing,

100015, P. R. China, and an office address at 12 Xihuan Middle Road, Beijing Economic-

Technological Development Area, 100176, P. R. China.

                              JURISDICTION AND VENUE

       4.      This action arises under the patent laws of the United States, Title 35 of the United

States Code § 1, et seq, including 35 U.S.C. §§ 271, 281, 283, 284, and 285. This Court has original

subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       5.      This Court has personal jurisdiction over Defendant in this action because

Defendant has committed acts within this District giving rise to this action, and has established

minimum contacts with this forum such that the exercise of jurisdiction over Defendant would not

offend traditional notions of fair play and substantial justice. Defendant has established minimum

contacts with the United States as a whole and with Texas such that subjecting Defendant to

personal jurisdiction in this Court will not offend traditional notions of fair play and substantial

justice. Defendant has purposely availed itself of the laws and protections of the United States and

the State of Texas by knowingly supplying and/or contracting to supply display panels for

incorporation into products to be sold, offered for sale, imported, and used in the United States,

the State of Texas, and in this District. Defendant has targeted the United States by conducting

regular business therein, and has placed and continues to place its products into the stream of

commerce through an established distribution channel with the expectation and/or knowledge that

they will be purchased by consumers in the United States, the State of Texas, and this District. On

information and belief, BOE knows or should be aware that finished consumer products

incorporating the Accused Products are sold by U.S. companies and distributors to consumers in




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this District, including through websites targeting U.S. customers. Plaintiff’s claims for patent

infringement arise directly from and/or relate to this activity.

        6.      Defendant also represents itself as a global entity with a substantial presence in the

United States, both directly and through stream of commerce sales of Accused Products that are

intended to, and in fact are, sold in the United States. E.g., https://www.boe.com/en/about/index

(“[Defendant’s] subsidiaries span 20 countries and regions, including the United States, Germany,

Britain, France, Switzerland, Japan, South Korea, Singapore, India, Russia, Brazil and the United

Arab Emirates. Its service network covers major regions in Europe, the Americas, Asia, Africa

and beyond.”). In addition, “one out of four display products in the world comes from BOE” and

its display products, including the Accused Products, are intended to be sold “abroad.” Id.

        7.      Defendant has not moved to transfer cases filed in this District in the past, including

but not limited to Element Capital Commercial Company Pte. Ltd v. BOE Technology Group Co.,

et al., Case No. 2:22-cv-00118-JRG (E.D. Tex.), Vista Peak Ventures, LLC v. BOE Technology

Group Co., Ltd., Case No. 2:18-cv-00431-JRG (E.D. Tex.), Optronic Sciences LLC v. BOE

Technology Group Co., Ltd., Case No. 2:23-cv-00549-JRG, and Optronic Sciences LLC v. BOE

Technology Group Co., Ltd., Case No. 2:24-cv-00577-JRG.

        8.      Venue is proper in this District under 28 U.S.C. §§ 1391(a)-(d) and 1400(b).

Defendant is a foreign corporation that does not reside in the United States and may be sued in any

judicial district pursuant to 28 U.S.C. § 1391(c)(3).

                                             COUNT I

                    INFRINGEMENT OF U.S. PATENT NO. 8,704,762

        9.      Plaintiff realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.




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       10.     Plaintiff owns by assignment U.S. Patent No. 8,704,762, entitled “Display device.”

The ’762 Patent was duly and legally issued by the United States Patent and Trademark Office on

April 22, 2014.

       11.     On information and belief, Defendant makes, uses, offers for sale, sells, and/or

imports certain products (“’762 Accused Products”), such as the BOE OLED panel supplied to

Valve and included in the Steam Deck, that directly infringe, literally and/or under the doctrine of

equivalents, one or more claims of the ’762 Patent. Defendant is liable for infringement of the ’762

Patent pursuant to 35 U.S.C. § 271(a).

       12.     Defendant also knowingly and intentionally induces infringement of one or more

claims of the ’762 Patent in violation of 35 U.S.C. § 271(b). Through the filing and service of this

Complaint, Defendant has had knowledge of the ’762 Patent and the infringing nature of the ’762

Accused Products. Despite this knowledge of the ’762 Patent, Defendant continues to actively

encourage and instruct its direct and indirect customers to directly infringe the ’762 Patent. For

example, on information and belief, Defendant specifically instructs Valve or manufacturers

associated with Valve to make, use, sell, offer for sale, and import devices that meet all the

limitations of one or more claims of the ’762 Patent. On information and belief, Defendant takes

similar actions with other customers. Defendant does so knowing and intending that its customers

will commit these infringing acts. Defendant also knew or was willfully blind that its actions would

induce direct infringement by others and intended that its actions would induce direct infringement

by others. Accordingly, a reasonable inference is that Defendant specifically intended for others,

such as its customers, to directly infringe one or more claims of the ’762 Patent because Defendant

had knowledge of the ’762 Patent and actively induced others (e.g., its direct and indirect

customers) to directly infringe the ’762 Patent.




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        13.       Defendant also contributorily infringes pursuant to 35 U.S.C. § 271(c) by making,

using, selling, offering to sell, commercially distributing, and/or importing the ’762 Accused

Products, knowing that they constitute a material part of the invention, are especially made or

adapted for use in infringement, and are not staple articles of commerce capable of substantial non-

infringing use.

        14.       The ’762 Accused Products satisfy all claim limitations of one or more claims of

the ’762 Patent. A claim chart comparing independent claim 1 of the ’762 Patent to representative

’762 Accused Products is attached as Exhibit 1.

        15.       By making, using, offering for sale, selling and/or importing into the United States

the ’762 Accused Products, Defendant has injured Plaintiff and is liable for infringement of

the ’762 Patent pursuant to 35 U.S.C. § 271.

        16.       As a result of Defendant’s infringement of the ’762 Patent, Plaintiff is entitled to

monetary damages in an amount adequate to compensate for Defendant’s infringement, but in no

event less than a reasonable royalty for the use made of the invention by Defendant, together with

interest and costs as fixed by the Court.

                                              COUNT II

                    INFRINGEMENT OF U.S. PATENT NO. 8,803,836

        17.       Plaintiff realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        18.       Plaintiff owns by assignment U.S. Patent No. 8,803,836, entitled “Display device

with touch panel.” The ’836 Patent was duly and legally issued by the United States Patent and

Trademark Office on August 12, 2014.




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       19.     On information and belief, Defendant makes, uses, offers for sale, sells, and/or

imports certain products (“’836 Accused Products”), such as the BOE OLED panel supplied to

Valve and included in the Steam Deck, that directly infringe, literally and/or under the doctrine of

equivalents, one or more claims of the ’836 Patent. Defendant is liable for infringement of the ’836

Patent pursuant to 35 U.S.C. § 271(a).

       20.     Defendant also knowingly and intentionally induces infringement of one or more

claims of the ’836 Patent in violation of 35 U.S.C. § 271(b). Through the filing and service of this

Complaint, Defendant has had knowledge of the ’836 Patent and the infringing nature of the ’836

Accused Products. Despite this knowledge of the ’836 Patent, Defendant continues to actively

encourage and instruct its direct and indirect customers to directly infringe the ’836 Patent. For

example, on information and belief, Defendant specifically instructs Valve or manufacturers

associated with Valve to make, use, sell, offer for sale, and import devices that meet all the

limitations of one or more claims of the ’836 Patent. On information and belief, Defendant takes

similar actions with other customers. Defendant does so knowing and intending that its customers

will commit these infringing acts. Defendant also knew or was willfully blind that its actions would

induce direct infringement by others and intended that its actions would induce direct infringement

by others. Accordingly, a reasonable inference is that Defendant specifically intended for others,

such as its customers, to directly infringe one or more claims of the ’836 Patent because Defendant

had knowledge of the ’836 Patent and actively induced others (e.g., its direct and indirect

customers) to directly infringe the ’836 Patent.

       21.     Defendant also contributorily infringes pursuant to 35 U.S.C. § 271(c) by making,

using, selling, offering to sell, commercially distributing, and/or importing the ’836 Accused

Products, knowing that they constitute a material part of the invention, are especially made or




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adapted for use in infringement, and are not staple articles of commerce capable of substantial non-

infringing use.

        22.       The ’836 Accused Products satisfy all claim limitations of one or more claim of the

’836 Patent. A claim chart comparing independent claim 8 of the ’836 Patent to representative

’836 Accused Products is attached as Exhibit 2.

        23.       By making, using, offering for sale, selling and/or importing into the United States

the ’836 Accused Products, Defendant has injured Plaintiff and is liable for infringement of

the ’836 Patent pursuant to 35 U.S.C. § 271.

        24.       As a result of Defendant’s infringement of the ’836 Patent, Plaintiff is entitled to

monetary damages in an amount adequate to compensate for Defendant’s infringement, but in no

event less than a reasonable royalty for the use made of the invention by Defendant, together with

interest and costs as fixed by the Court.

                                             COUNT III

                    INFRINGEMENT OF U.S. PATENT NO. 9,250,758

        25.       Plaintiff realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        26.       Plaintiff owns by assignment U.S. Patent No. 9,250,758, entitled “Display device

with touch panel.” The ’758 Patent was duly and legally issued by the United States Patent and

Trademark Office on February 2, 2016.

        27.       On information and belief, Defendant makes, uses, offers for sale, sells, and/or

imports certain products (“’758 Accused Products”), such as the BOE OLED panel supplied to

Valve and included in the Steam Deck, that directly infringe, literally and/or under the doctrine of




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equivalents, one or more claims of the ’758 Patent. Defendant is liable for infringement of the ’758

Patent pursuant to 35 U.S.C. § 271(a).

       28.        Defendant also knowingly and intentionally induces infringement of one or more

claims of the ’758 Patent in violation of 35 U.S.C. § 271(b). Through the filing and service of this

Complaint, Defendant has had knowledge of the ’758 Patent and the infringing nature of the ’758

Accused Products. Despite this knowledge of the ’758 Patent, Defendant continues to actively

encourage and instruct its direct and indirect customers to directly infringe the ’758 Patent. For

example, on information and belief, Defendant specifically instructs Valve or manufacturers

associated with Valve to make, use, sell, offer for sale, and import devices that meet all the

limitations of one or more claims of the ’758 Patent. On information and belief, Defendant takes

similar actions with other customers. Defendant does so knowing and intending that its customers

will commit these infringing acts. Defendant also knew or was willfully blind that its actions would

induce direct infringement by others and intended that its actions would induce direct infringement

by others. Accordingly, a reasonable inference is that Defendant specifically intended for others,

such as its customers, to directly infringe one or more claims of the ’758 Patent because Defendant

had knowledge of the ’758 Patent and actively induced others (e.g., its direct and indirect

customers) to directly infringe the ’758 Patent.

       29.        Defendant also contributorily infringes pursuant to 35 U.S.C. § 271(c) by making,

using, selling, offering to sell, commercially distributing, and/or importing the ’758 Accused

Products, knowing that they constitute a material part of the invention, are especially made or

adapted for use in infringement, and are not staple articles of commerce capable of substantial non-

infringing use.




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        30.     The ’758 Accused Products satisfy all claim limitations of one or more claim of the

’758 Patent. A claim chart comparing independent claim 1 of the ’758 Patent to representative

’758 Accused Products is attached as Exhibit 3.

        31.     By making, using, offering for sale, selling and/or importing into the United States

the ’758 Accused Products, Defendant has injured Plaintiff and is liable for infringement of

the ’758 Patent pursuant to 35 U.S.C. § 271.

        32.     As a result of Defendant’s infringement of the ’758 Patent, Plaintiff is entitled to

monetary damages in an amount adequate to compensate for Defendant’s infringement, but in no

event less than a reasonable royalty for the use made of the invention by Defendant, together with

interest and costs as fixed by the Court.

                                            COUNT IV

                    INFRINGEMENT OF U.S. PATENT NO. 9,507,477

        33.     Plaintiff realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        34.     Plaintiff owns by assignment U.S. Patent No. 9,507,477, entitled “Display device.”

The ’477 Patent was duly and legally issued by the United States Patent and Trademark Office on

November 29, 2016.

        35.     On information and belief, Defendant makes, uses, offers for sale, sells, and/or

imports certain products (“’477 Accused Products”), such as the BOE OLED panel supplied to

Valve and included in the Steam Deck, that directly infringe, literally and/or under the doctrine of

equivalents, one or more claims of the ’477 Patent. Defendant is liable for infringement of the ’477

Patent pursuant to 35 U.S.C. § 271(a).




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       36.        Defendant also knowingly and intentionally induces infringement of one or more

claims of the ’477 Patent in violation of 35 U.S.C. § 271(b). Through the filing and service of this

Complaint, Defendant has had knowledge of the ’477 Patent and the infringing nature of the ’477

Accused Products. Despite this knowledge of the ’477 Patent, Defendant continues to actively

encourage and instruct its direct and indirect customers to directly infringe the ’477 Patent. For

example, on information and belief, Defendant specifically instructs Valve or manufacturers

associated with Valve to make, use, sell, offer for sale, and import devices that meet all the

limitations of one or more claims of the ’477 Patent. On information and belief, Defendant takes

similar actions with other customers. Defendant does so knowing and intending that its customers

will commit these infringing acts. Defendant also knew or was willfully blind that its actions would

induce direct infringement by others and intended that its actions would induce direct infringement

by others. Accordingly, a reasonable inference is that Defendant specifically intended for others,

such as its customers, to directly infringe one or more claims of the ’477 Patent because Defendant

had knowledge of the ’477 Patent and actively induced others (e.g., its direct and indirect

customers) to directly infringe the ’477 Patent.

       37.        Defendant also contributorily infringes pursuant to 35 U.S.C. § 271(c) by making,

using, selling, offering to sell, commercially distributing, and/or importing the ’477 Accused

Products, knowing that they constitute a material part of the invention, are especially made or

adapted for use in infringement, and are not staple articles of commerce capable of substantial non-

infringing use.

       38.        The ’477 Accused Products satisfy all claim limitations of one or more claim of the

’477 Patent. A claim chart comparing independent claim 12 of the ’477 Patent to representative

’477 Accused Products is attached as Exhibit 4.




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        39.     By making, using, offering for sale, selling and/or importing into the United States

the ’477 Accused Products, Defendant has injured Plaintiff and is liable for infringement of

the ’477 Patent pursuant to 35 U.S.C. § 271.

        40.     As a result of Defendant’s infringement of the ’477 Patent, Plaintiff is entitled to

monetary damages in an amount adequate to compensate for Defendant’s infringement, but in no

event less than a reasonable royalty for the use made of the invention by Defendant, together with

interest and costs as fixed by the Court.

                                            COUNT V

                    INFRINGEMENT OF U.S. PATENT NO. 11,126,025

        41.     Plaintiff realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        42.     Plaintiff owns by assignment U.S. Patent No. 11,126,025, entitled “In-cell touch

panel.” The ’025 Patent was duly and legally issued by the United States Patent and Trademark

Office on September 21, 2021.

        43.     On information and belief, Defendant makes, uses, offers for sale, sells, and/or

imports certain products (“’025 Accused Products”), such as the BOE display/touch panel supplied

to Amazon and included in the Amazon Fire HD10 tablet, that directly infringe, literally and/or

under the doctrine of equivalents, one or more claims of the ’025 Patent. Defendant is liable for

infringement of the ’025 Patent pursuant to 35 U.S.C. § 271(a).

        44.     Defendant also knowingly and intentionally induces infringement of one or more

claims of the ’025 Patent in violation of 35 U.S.C. § 271(b). Through the filing and service of this

Complaint, Defendant has had knowledge of the ’025 Patent and the infringing nature of the ’025

Accused Products. Despite this knowledge of the ’025 Patent, Defendant continues to actively




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encourage and instruct its direct and indirect customers to directly infringe the ’025 Patent. For

example, on information and belief, Defendant specifically instructs Amazon or manufacturers

associated with Amazon to make, use, sell, offer for sale, and import devices that meet all the

limitations of one or more claims of the ’025 Patent. On information and belief, Defendant takes

similar actions with other customers. Defendant does so knowing and intending that its customers

will commit these infringing acts. Defendant also knew or was willfully blind that its actions would

induce direct infringement by others and intended that its actions would induce direct infringement

by others. Accordingly, a reasonable inference is that Defendant specifically intended for others,

such as its customers, to directly infringe one or more claims of the ’025 Patent because Defendant

had knowledge of the ’025 Patent and actively induced others (e.g., its direct and indirect

customers) to directly infringe the ’025 Patent.

       45.        Defendant also contributorily infringes pursuant to 35 U.S.C. § 271(c) by making,

using, selling, offering to sell, commercially distributing, and/or importing the ’025 Accused

Products, knowing that they constitute a material part of the invention, are especially made or

adapted for use in infringement, and are not staple articles of commerce capable of substantial non-

infringing use.

       46.        The ’025 Accused Products satisfy all claim limitations of one or more claim of the

’025 Patent. A claim chart comparing independent claim 1 of the ’025 Patent to representative

’025 Accused Products is attached as Exhibit 5.

       47.        By making, using, offering for sale, selling and/or importing into the United States

the ’025 Accused Products, Defendant has injured Plaintiff and is liable for infringement of

the ’025 Patent pursuant to 35 U.S.C. § 271.




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       48.       As a result of Defendant’s infringement of the ’025 Patent, Plaintiff is entitled to

monetary damages in an amount adequate to compensate for Defendant’s infringement, but in no

event less than a reasonable royalty for the use made of the invention by Defendant, together with

interest and costs as fixed by the Court.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court enter:

       a.        A judgment in favor of Plaintiff that Defendant has infringed, either literally and/or

under the doctrine of equivalents, the Asserted Patents and that they are valid, enforceable, and

patent-eligible;

       b.        A judgment and order requiring Defendant to pay Plaintiff its damages, costs,

expenses, and pre-judgment and post-judgment interest for Defendant’s infringement of the

Asserted Patents;

       c.        A judgment and order requiring Defendant to provide an accounting and to pay

supplemental damages to Plaintiff, including without limitation, pre-judgment and post-judgment

interest, and an award of an ongoing royalty for Defendant’s post-judgment infringement in an

amount according to proof;

       d.        A judgment and order finding that this is an exceptional case within the meaning

of 35 U.S.C. § 285 and awarding to Plaintiff its reasonable attorneys’ fees and costs against

Defendant, and enhanced damages pursuant to 35 U.S.C. § 284;

       e.        Any and all injunctive and/or equitable relief to which Plaintiff may be entitled

including without limitation ongoing royalties with respect to Defendant’s infringement; and

       f.        Any and all other relief as the Court may deem appropriate and just under the

circumstances.




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                                  DEMAND FOR JURY TRIAL

       Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.




Dated: February 28, 2025                       Respectfully submitted,

                                               /s/ Benjamin T. Wang

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